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United States District Court
Middle District of Florida

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Colby-Alexander: Frank

Civil Case No:
Plaintiff
V.
Randy Fine
Kerry Takacs
Unknown 911 Caller

Defendants
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|
Plaintiff brings forth the following causes of action and allege the following:
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JURISDICTION

This is a civil action seeking relief and/or compensation for damages to defend
and protect the rights guaranteed by the Constitution of the United States against criminal
harassment. This action is brought pursuant to 42 U.S.C 1983. The Court has
jurisdiction over this action pursuant to 28 U.S.C 1331, 1343(3), 2201, and 1443.
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PLAINTIFF IS PRO-SE AND DEMANDS THAT THIS
COURT REMAINS FOCUSED SOLELY ON THE

LAWS AT HAND AND REQUEST FULL
CONSIDERATION WITH REGARDS TO

PROCEDURE, FORMATTING, ETIQUETTE, ETC.

NO COUNSEL WILL TOUCH THIS CASE DUE TO
THE POLITICAL NATURE OF THE FACTS.

FURTHERMORE, PLAINTIFF DOES NOT BELIEVE
THAT ANY BAR COUNSEL WILL MOVE HIS CASE
IN A POSITIVE DIRECTION WITH PLAINTIFE’S
BEST INTERESTS IN MIND.

See:
1) Elmore v. McCammon (1986) 640 F. Supp. 905

2) Haines v. Kerner, 404 U.S. 519, 92 S. Ct. 594 (1972)
3) Jenkins v. McKeithen, 286 F. Supp. 537 (E.D. La. 1968)
4) Picking v. Pennsylvania R. Co., 151 F.2d 240 (3d Cir. 1945)

5) Puckett v. Cox, 456 F.2d 233 (6th Cir. 1972)
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PARTIES

Plaintiff:

Colby-Alexander: Frank, Man
PO Box 13264,

Fort Pierce, Fl

34979

941-275-5712

Witnesses:

Brian Hulliger, Friend

Giovanni Lorenzo, Friend

Maritza, Marriott Employee

Amber Jo Cooper, Florida’s Voice

Ron Filipkowski, Media Touch Network
Eric Rogers, Florida Today

Esther Bower, Fox35 Orlando

Defendants:
Randy Fine

Kerry Takacs
Unknown 911 Caller
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STATUTES/CODES THAT HAVE BEEN
BROKEN BY CIVIL SERVANTS, AGENTS,
AGENCIES, ETC, OR HAVE PROBABLE CAUSE TO
BE INVESTIGATED

FS836.05 Threats; extortion.

FS836.09 Communicating libelous matter to newspapers; penalty.

F$836.115 Cyberintimidation by publication.

FS112.311 Legislative intent and declaration of policy.

FS112.3213

FS112.313 Standards of conduct for public officers, employees of agencies, and local
government attorneys. Section 6, Section 9(a)1

FS365.172 Emergency communications number “E911.”

FS838.016 Unlawful compensation or reward for official behavior.
FS838.15 Commercial bribe receiving.
FS838.16 Commercial bribery.

18 U.S. Code § 241 - Conspiracy against rights

18 U.S. Code § 245 - Federally protected activities

18 U.S. Code § 247 - Damage to religious property; obstruction of persons in the free exercise of
religious beliefs

18 U.S. Code § 201 - Bribery of public officials and witnesses

18 U.S. Code § 203 - Compensation to Members of Congress, officers, and others in matters
affecting the Government

18 U.S. Code § 1968 - Civil investigative demand
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Affidavit of Criminal Complaint

On the morning of 10/4/2023, Plaintiff approached Defendant Fine on his way to a public
speaking event with a gopro camera in one of his hands and a stapled packet of
political/religious literature in his other hand with intent to debate and discuss Plaintiff's
political/religious literature and the drafting and signage of HB269 in Israel.

Upon rounding a parking lot corner where his view was obstructed by cars, Plaintiff said
“Ts that Randy Fine? Mr. Fine?”

Defendant Fine then asked “who are you?”

Plaintiff answered, “Colby Frank, Goyim Defense League.”

Plaintiff began to question or invite Defendant Fine to a political debate or to schedule
such debate regarding literature and the entirety of the public literature campaign around
jewish political involvement in multiple progressive political theaters.

Defendant Fine scoffed and called Plaintiff “scum, nazi,” and other derogatory names.
Defendant Fine said “you’re lucky I don’t punch you in the fucking face.” Defendant
Fine also said that antisemitism could never be defeated with “assholes like you
[plaintiff] in our state.”

More back and forth was said, ending with Defendant Fine saying “you’re beneath me.”
Plaintiff and his friends then completely left the event facility for almost 2 hours.
Defendant Fine proceeded to tell his supporters that Plaintiff assaulted him. (Packet A)

10) Defendant Fine decided to communicate libelous and slanderous materials on X

(formerly twitter) about Plaintiff, calling him a Nazi and using the term “jumped,” to
describe approaching him with a gopro camera for questions or to schedule a debate. On
his twitter tirade Defendant Fine also said this would not be one of Plaintiff’s better days.
Defendant Fine decided to share Plaintiff’s picture, clearly showing his face on X and to
multiple news agencies. Defendant Fine said he wants to legalize punching nazis.

(Packet B)

11) As Defendant Fine’s event was concluding, Plaintiff and a few friends went to the

entrance/exit to the facility that Defendant Fine and his political supporters were leaving

with political signage to spread awareness.
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12) Plaintiff’s friend Giovanni Lorenzeo received information from a supporter of Defendant
Fine that someone alleged we had “stormed a meeting.” We never once entered the
premises and this is completely and openly false. (Packet A)

13) Defendant Fine has a long history of calling for threats and violence against his political
opposition. In a press release it was confirmed that Defendant Fine posted to Facebook
“Kyle should shoot these assholes,” referring to a political banner pointing out that the
three men shot in self defense by Kyle Rittenhouse happened to be jewish. (Attachment
C)

14) Defendant Fine has a long history of conspiring with other political agents and agencies
against protected free speech activities as well as abusing his position as a legislative

representative to attack the voice of other political positions. (Packet D)
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I swear under penalty of perjury that the affidavit of criminal complaint
(AOCC) is true and correct.

State of: Fle cid Ch

County of: Sprint { UC
On (0 / 719 /2032 , before me,

Gwenddyn Chand.
Personally appeared, ‘WG tL JB

Colby Alesander Frank, LS Prk Prgedite

[__] Personally known to me

OR

[ U+Proved to me on the basis of satisfactory evidence to be the person(s) whose
name(s) is/are subscribed to the within instrument and has hereby acknowledged to
me that he/she/they have executed the same in his/her/their authorized

capacity(ies), and that by his/her/their signature(s) on the instrument the person(s)
or the entity upon behalf of which the person(s) acted, executed the instrument.

Witness my hand and official seal

(WX

Notary Signature

az.
Print ee |

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PLAINTIFF DEMANDS TRIAL BY JURY

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CAUSES OF ACTION/TORTS

Contempt of First Amendment.

Contempt of Fourteenth Amendment.
Intentionally induced emotional distress.
Personal loss of income.

Destruction of character/defamation/slander.

Threats

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PRAYER FOR RELIEF

Plaintiff is requesting this court award him compensatory and punitive damages in an
amount of 666,666$ split amongst defendants as this honorable court sees fit. It is the
unfortunate reality that in today’s political climate, to be accused of “jumping,” a political
adversary could have extremely serious consequences including severe bodily harm or death,
especially when Plaintiff is a White civil rights advocate. Plaintiff now has irreparable damage
to character which will undoubtedly affect his employment opportunities within the aerospace
industry. Plaintiff will now have a much harder time securing employment within the prestigious
aerospace industry. Plaintiff’s face has been spread across news agencies without Plaintiff’s

consent after Plaintiff’s pictures were taken on private property.

Plaintiff also demands a writ of quo warranto for Defendant Fine. Plaintiff also demands
a public apology be made as well as a debate on the subject matter of Plaintiff's First

Amendment activities both live on Fox 35 Orlando.

Furthermore, the State of Florida seems to have passed a clearly unconstitutional bill
titled, House Bill 269. Plaintiff requests this honorable court to strike this bill down as
unenforceable due to its constitutional violations. Plaintiff is also seeking a writ of injunction
against any and all police agencies attempting to persecute plaintiff for these literature

distributions.

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